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              IN THE CIRCUIT COURT OF MILLER COUNTY, ARKANSAS


TOM WEST, ON BEHALF OF HIMSELF
AND ALL OTHERS SIMILARLY
SITUATED,

               Plaintiff

v.                                                       Civil Action No. CV2011-0S73-3

NISSAN NORTH AMERICA, INC

               Defendant


                   SECOND AMENDED CLASS ACTION COMPLAINT

        COMES NOW Tom West, Plaintiff, on behalf of himself and all others similarly situated,

and files this Second Amended Class Action Complaint against NISSAN NORTH AMERICA,

INC. ("Defendant"):

                                                I.

                                       INTRODUCTION

        l.     Plaintiff seeks certification of this action as a class action under Ark. R. Civ.

P.23.

        2.     Defendant developed, designed, manufactured, assembled, tested, marketed,

promoted, warranted, and distributed and sold 2004-2006 Nissan Armada and Titan trucks, and

Infinity QX56 vehicles. These vehicles contain brake booster/modules containing the Delta

Stroke Sensor which, due to defectively designed sensors, do not adequately function. This

failure alone is problematic and harms Plaintiff and Class Members.           But the defective

component part also causes a failure in the system resulting in braking failures . At the latest,

Defendant discovered this defect in May 2006 when they issued Technical Service Bulletin

NTB06-040 purporting to "reprogram" around the manifest defect. Defendant withheld from its


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own dealers any admission of responsibility for the defect. This permitted Defendant to avoid

paying warranty claims in Arkansas. It also allowed for additional sales of the vehicles with no

disclosure of the defect.    After the May 2006 Technical Service Bulletin, Defendant became

aware that the attempted "reprogramming" called for by NTB06-040 of the defective part did not

fix the defect. The only fix for the manifest defect was replacement of the brake booster/module

at an approximate cost of $1 ,000. Armed with this additional knowledge, Defendant refused to

pay warranty claims, failed to disclose the defect to existing owners, and failed to disclose the

defects to new purchasers- all to the financial benefit of Defendant.

        3.      The purpose of this action, once certified as a class action, is to right these wrongs

Defendant has done to Plaintiff Tom West ("Plaintiff'), residents of Miller County, Arkansas,

and thousands of Arkansas owners just like them.

       4.       The defects complained of herein manifest from day one off of the assembly line,

and existed at the moment of purchase of the Class Vehicles. Accordingly, at the moment of

sale, Plaintiff and the Class Members were injured.

       5.      The defect in the Plaintiffs and Class Vehicles occurred within the vehicle,

regardless of whether the defect resulted in a failure.

       6.      Defendant has had actual notice of the defects but remains unwilling to cure at its

expense or otherwise acknowledge and accept responsibility for the defects. When presented

with like claims by people other than Plaintiff and Class Members, and unknown to Plaintiff and

Class Members, Defendant has not honored its warranties, contracts, or obligations to vehicle

owners to replace or repair the defect. As such, Defendant should be estopped from asserting

any defense oflack of presentment of the defect because such presentment has been futile.




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           7.    Due to the defects, there exists a difference in value between (I) the Class Vehicle

sold to Plaintiff and the Class Members and (2) the Class Vehicle Defendant represented to the

Plaintiff and the Class Members. Accordingly, at the moment of sale, Plaintiff and the Class

Members were injured.

           8.    Upon purchase, Plaintiff and the Class Members received the Class Vehicle with

less value than what was represented and for which they paid. Accordingly, at the moment of

sale, Plaintiff and the Class Members were injured.

           9.    Due to the defects, there exists a difference in value between (I) the price paid for

the Class Vehicle and (2) the Class Vehicle's actual value when received by Plaintiff and the

Class Members. Accordingly, at the moment of sale, Plaintiff and the Class Members were

injured.

           10.   Upon purchase, Plaintiff and the Class Members received the Class Vehicle with

less value than the price paid. Accordingly, at the moment of sale, Plaintiff and the Class

Members were injured.

           II.   Due to the defects and upon purchase by Plaintiff and the Class Members,

Defendant wrongfully obtained from Plaintiff and the Class Members a value over the worth of

the Class Vehicle. Accordingly, at the moment of sale, Plaintiff and the Class Members were

injured.

                                                  II.

                                      CLASS DESCRIPTION

           12.   Under Ark. Civ. P. 23, Plaintiff seeks certification of the following class of

vehicle owners (the "Class Members" or the "Class"):




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                Any "owner " or "subsequent owner" of 2004-2006 Nissan Titan and
                Armada trucks. and Infinity QX56 vehicles who registered their vehicle in
                the State of Arkansas.

Excluded from the Class are the following individuals or entities:

               a.     Individuals or entities, if any, who timely opt out of this
        proceeding using the correct protocol for opting out will be formally established
        by the Court;

               b.     Any and all federal , state or local governments, including, but not
        limited to, their departments, agencies, divisions, bureaus, boards, sections,
        groups, counsel and/or subdivisions;

               c.      Any currently sitting Arkansas state court judge or justice in the
       current style and/or any persons within the third degree of consanguinity to such
       judge or justice;

                (d)    Any person who has given notice to Defendant by service of
       litigation papers or otherwise, and alleged he or she has suffered personal injury
       or collateral property damage due to an alleged defect in the braking component
       described herein in the Class Vehicles described herein;

               (e)     Any person, "owner" or "subsequent owner" who had the defect
       repaired at the dealer's expense.

                                                III.

                                             PARTIES

       13.     The named Plaintiff, Tom West, is a resident of the State of Arkansas, residing in

Miller County, Arkansas at all times relevant to this action.

       14.     Defendant is a corporation registered to do business in Arkansas and may be

served through its counsel of record.

                                                IV.

                                 JURISDICTION AND VENUE

       15.     This Court has jurisdiction over this action and venue is proper because

Defendant does business and market their products within Miller County, Arkansas; Tom West,




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the named Plaintiff, is a resident of Miller County, Arkansas; and sustained the damages and

harm as alleged herein in Miller County, Arkansas.

         16.   NOTICE OF NON-REMOVABILITY AND SANCTIONS: There is no basis

for federal-question jurisdiction under 28 U.S.C. § 1331.           Plaintiff, as putative Class

representative and individually, admit, represent and stipulate that he excludes any cause of

action which would create federal question jurisdiction and make this case removable on that

basis.

         17.   Plaintiff also as putative Class representative and individually, admits, represents

and stipulates that the amount in controversy as to Plaintiff and each member of the Class is less

than $75,000.00, exclusive of interest and costs, as further explained in the sentences and

paragraphs below. Accordingly, this matter is not removable on the basis of complete diversity

under 28 U.S.C. §1332(a)

         18.   Neither is this matter removable on the basis of the Class Action Fairness Act of

2005 ("CAFA"). E.g. 28 U.S.C. §1332(d).         Plaintiffs, as putative Class representatives and

individually, admit, represent and stipulate that the maximum final, total, aggregate judgment

they will seek on behalf of the Class, as Class representatives, and regardless of the theory of

recovery on which judgment is based, will be $4,999,999.00, and that in the event any additional

factors (e.g., without limitation, exemplary damages, statutory penalties, statutory or common

fund attorneys' fees, class representative incentive award(s), equitable recoveries, pre-or post-

judgment interest, recovery of court costs or the like) might otherwise engender a final Class

judgment amount or recovery in excess of $4,999,999.00, that they are not, on the Class's behalf,

seeking any judgment or recovery of any amount in excess of $4,999,999.00, that they disclaim

any such excess amount, and that they, on the Class's behalf, will not accept any final judgment




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recovery or award in excess of $4,999,999.00, such that those additional factors should not be

considered at all by the Court in rendering final judgment.

         19.      Further, undersigned putative Class counsel admits, represents and stipulates that

they are not seeking any award of attorneys' fees, common fund or otherwise, which would

cause, in any way, the final judgment in this matter to exceed the sum of $4,999,999.00, and they

specifically disclaim any such any attorney fee claim or award.

         20.      These representations, stipulations and admissions above are enforceable under,

without limitation, the Arkansas law relating to judicial estoppel, the doctrine against

inconsistent positions, the binding effect of stipulations, and the pleading of damages under Ark.

R. Civ. P. 8(a), or otherwise.           The enforceability of these damages-related representations,

stipulations and admissions precludes removal of this case under CAF A due to lack of any

subject matter jurisdiction conferred by CAFA. E.g. Rolwing v. Nestle Holdings, Inc., 666 FJd

1069 (8th Cir. 2012); Bell v. Hershey Co., 557 FJd 953, 958 (8th Cir. 2009)(in discussing

CAFA's application, noting Arkansas procedural rules permit a Plaintiffs to plead his or her

sought-after damages with specificity); Clark v. Welspun Tubular LLC, No. 5:II-cv-321, 2012

U.S. Dist. LEXIS 17836 at (E.D. Ark. Feb. 14, 2012)("The Court denies the motion to remand.

The complaint does not include a comprehensive stipulation capping recovery in all forms.") I

Any attempt by Defendants to remove this case in light of well settled precedent would be

frivolous, will harm Plaintiffs and the putative class with unnecessary delay, costs and fees, and

will force Plaintiffs to seek sanctions, attorneys' fees and costs. Sanctions, attorneys' fees and

costs would be appropriate in that non-removability of this case as plead is well settled and not a

matter of academic or jurisprudential nuance. See, Bell v. Hersey Company, 567 FJd 953, 958


        Here, in contrast, this Complaint does contain a comprehensive stipulation capping recovery in all forms at
$4,999,999.00.


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(8 th Circuit 2009); Murphy v. Reebok International, Ltd~ 2011 U.S. Dist., LEXIS 46983;

McClendon, et af. v. Higgs, 2011 U.S. Dist. LEXIS 89266; Thompson, et aI, v. Apple, Inc., 2011

U.S. Dis!. LEXIS 73861.

                                                  V.

                             GENERAL FACTUAL ALLEGATIONS

        21.     Defendant manufactured and sold to Arkansas residents, including through

dealers in Arkansas the following: 2004-2006 Nissan Titan trucks, 2004-2006 Nissan Armada

trucks, and 2004-2006 Infinity QX56 vehicles, collectively described as "Class Vehicles."

        22.     The modules originally installed on the Class Vehicles are defectively designed in

that they fail to function as designed, and the Delta Stroke Sensor and brake booster/module

required replacement.    The failure manifested itself upon each use, but may have also been

evidenced by the brake light coming on, the ABS light coming on, brake pedal vibration and

unacceptable and unsafe degrees of braking failure. This defect is harmful to Plaintiff and Class

Members, and is something that occurs or manifests itself each time the Class Vehicles are

operated- regardless of whether an ultimate failure occurs.

       23.     Defendant is aware that the defect leads to a condition whereby the signal to the

brakes fails completely, leading to the ultra-hazardous condition of no effective braking capacity

on the Class Vehicles.

       24.     Defendant is aware that the only fix for the manifest defect is to replace the brake

booster/modules containing the Delta Stroke Sensor at an approximate cost of $1 ,000.

       25.     Defendant does not list the brake booster/module and/or incorporated Delta

Stroke Sensor as "wear out items" in their vehicle technical specifications. Therefore, they

should not fail or need replacing but for the defects.




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           26.   Defendant had actual notice, or at the very least constructive notice, of the defects

In   Class Vehicles as early as 2006, well before this lawsuit was filed.         Plaintiff and Class

Members provided additional notice of their defective brakes to Defendant by filing a lawsuit, or

by complaining to Defendant directly, or to Defendant's dealer-warranty repair agents, that their

Class Vehicles contained a defect and needed repair.            Plaintiff and Class Members have

otherwise fully complied with and satisfied all conditions precedent, if any, to maintaining this

action against Defendant.

           27.   For Plaintiff and existing Class Members with the defects, Defendant continues to

fail to acknowledge the defect or the defect's unacceptable, serious dangers and pay for the

repaIrs.

           28.   On May 12, 2006, a significant period after Defendant received notice of the

defect, Defendant published technical service bulletin NTB06-040. It was in this bulletin that

Defendant first tacitly acknowledged, but not to Plaintiff or Class Members, its responsibility for

the defect, noting the "brake warning light is or was on and/or the ABS warning light is or was

on and/or there is or was a vibration* in the brake pedal while braking. *This vibration is the

rapid consistent speed pedal pulsation that is felt when the ABS is activated." However, this

bulletin attempted to "reprogram" the defect. It did not and does not work.

           29.   Defendant has never conducted a recall related to the defect.

           30.   Defendant has failed to provide a notice of any kind to Plaintiff or the Class

Members regarding the dangerous defect and its effect on braking. Defendant failed to send the

technical service bulletin to any Class Vehicle owner. Defendant failed to instruct its dealers to

notify Class Vehicle owners of the dangerous defect.            Instead, Defendant concealed the

dangerous defect from its consumers like Plaintiff and the Class.




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        31.      However, as Defendant is aware, Federal Motor Vehicle Safety Standards

("FMVSS") and relevant state laws require functional brakes at all times. In addition, applicable

Nissan owners' manuals are rife with warnings and instructions regarding the Class Vehicle

brakes, and specifically the importance of their proper and safe function at all times. Given its

obvious and critical safety-related function, it is common knowledge that the single most

important safety piece of equipment on a vehicle is properly functioning brakes.

                                                   VI.

                      FACTUAL ALLEGATIONS: PLAINTIFF TOM WEST

       32.       In 2006, Plaintiff purchased and took delivery of a 2004 Nissan Titan truck (the

"West vehicle") from Pete Mankins. Plaintiff still owns the vehicle. At the time Plaintiff bought

the West vehicle, Defendant was aware of the defects at issue in this case.

       33.       During Plaintiffs ownership of the vehicle, Plaintiff used the brake and it has

malfunctioned.

       34.       The West vehicle is a Class Vehicle in that it falls within the description of 2004-

2006 model year Nissan Titan pickups equipped with the defective partes).

       35.       The West vehicle was originally equipped with brake booster/modules containing

the Delta Stroke Sensor. The West vehicle is still equipped with the defective partes).

       36.       Plaintiff cannot afford to repair the defect.

       37.       The defective brake on the West vehicle is defectively designed, and exhibits

additional manifested characteristics of the sensor defect referenced throughout this complaint.

                                                  VII.

              CAUSES OF ACTION: PLAINTIFF TOM WEST AND THE CLASS

       (A)       Fraudulent Concealment/Failure to Disclose.




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        38.      The allegations set forth in paragraphs 1-37 herein are incorporated into this

section by reference as if set forth verbatim.

        39.      Due to the inequality of condition and knowledge on the part of Defendant versus

the Plaintiff and Class Members, Defendant's silence about the defect is actionable fraud.

        40.      The knowledge of the defect was peculiarly within the knowledge of the

Defendant and was of such a nature that Plaintiff and the Class Member were justified in

assuming its nonexistence.

        41.      Defendant concealed and continues to conceal the defective Delta Stroke Sensor

incorporated in the brake booster assembly and responsibility for it from vehicle owners, dealers

and prospective vehicle purchasers.

        42.      Given the circumstances, the events surrounding Defendant's denial of the defect,

Defendant's withholding of information from dealers, and Defendant's overall scheme and

strategy to prevent disclosure of the defect, Defendant owed a duty to Plaintiff and Class

Members to speak and fully inform them of the nature of the defect, and Defendant's

responsibility for the defect under both express and implied warranties that Plaintiff and Class

Members had acquired in conjunction with purchasing Plaintiffs vehicles and/or Class Vehicles.

        43.      When and if Defendant learned that any of its previous representations regarding

the defect were false, it has a duty to correct the representations or fully disclose its knowledge

of the defect.

        44.      Defendant's failure to speak to Plaintiff and Class Members is equivalent to a

fraudulent concealment and amounts to fraud just as much as an affirmative falsehood.

        45.      Defendant's fraudulent concealment caused or proximately caused damages to

Plaintiff and Class Members as set forth below.




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        46.      Defendant's fraudulent concealment also operates to equitably toll the limitations

period applicable to all causes of action asserted by Plaintiff and Class Members herein. This is

especially true since the defect can result in an ultra-hazardous, catastrophic scenario of complete

brake failure.

        47.      Plaintiff and the Class Members could not have and did not learn of the

Defendant's fraud until after the filing of the Banks case.

        (B)      Breach of Express Warranty.

        48.      The allegations set forth in paragraphs 1-47 herein are incorporated into this

section by reference as if set forth verbatim.

       49.       On April 25, 2011, suit was filed against Defendant in the Northern District of

California and entitled, Banks, et al. v. Nissan North American, Inc. , et al., 4: Ilcv02022, United

States District Court for the Northern District of California, Oakland Division. In the Banks

case, the plaintiffs there alleged the same defects as issue in the present case. In the Banks case,

the plaintiffs initially sought a nationwide class action- which, if certified, would have included

the vehicle purchased by Plaintiff and the Class Members for the State of Arkansas. Pursuant to

Arkansas Code Annotated § 4-2-607(3)(a), The Banks original complaint provided Defendant

notice "within a reasonable time after [Plaintiff] discovered or should have discovered any

breach." After the filing of the Banks case, Defendant did not cure the complained of harm to

the class of affected owners. Instead, Defendant denied that a defect(s) existed or the Banks

class members were entitled to relief. Plaintiff filed the present suit following the filing of

Banks. Plaintiff further alleges presentment of any notice has been shown and is futile because

of Defendant's failure to acknowledge a problem with the Class Vehicles.




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        50.     The defects complained of herein manifested from day one off of the assembly

line, and existed at the moment of purchase of the Class Vehicles. Accordingly, Plaintiff asserts

the defects complained of herein occurred within the original warranty period. Because of

Defendant's fraudulent concealment of the defect, Defendant is estopped from asserting the

defense of statute of limitations as to breach of warranty because (a) Defendant's actions of

affirmative fraud, deception, or concealment (intentional or unintentional) of fact caused Plaintiff

and the Class Members to relax their vigilance or deviate from inquiry; (b) Plaintiff and the Class

Members were unaware of the defects; (c) Plaintiff and the Class Members were unable to

undertake any action to accomplish the benefit of the warranty; and (d) Arkansas Code

Annotated § 4-2-725(4) provides that § 4-2-725 "does not alter the law on tolling of the statute of

limitations."

       51.      Plaintiff owns the West vehicle and has SInce 2006.          The West vehicle is

registered in Arkansas and is operated in the United States. The Class Members each own 2004-

2006 Nissan Armada and Titan trucks, and Infiniti Q456 vehicles. They have registered those

vehicles in the State of Arkansas.

       52.      The Class Vehicles had an express basic coverage warranty from Defendant with

a warranty coverage period of 3 years or 36,000 miles, whichever occurs first. In addition, the

Class Vehicles had a Powertrain warranty of 5 years or 60,000 miles that covered the defects

herein complained.     The warranties cover repairs to correct any vehicle defect related to

materials or workmanship occurring during the warranty coverage period. With their vehicle

purchases, Plaintiff and the Class Members all received identical express warranties from

Defendant, either through the basis coverage or powertrain coverage.




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        53.        The express warranties became part of the basis of the bargain in the course of

Plaintiff purchasing the West vehicle.

        54.        At the time of purchase and delivery, and within an applicable warranty period,

the West vehicle had a defective Delta Stroke Sensor incorporated in the brake booster assembly.

The defect manifested itself from the date it left the manufacturer and each time the West vehicle

was driven- although it may not have evidenced itself to West sufficient for him to make a

warranty claim. At the time of purchase and delivery, the Delta Stroke Sensor incorporated in

the brake booster assembly on all Class Vehicles owned by Class Members was defective. The

defects are still present and manifest themselves each time Class Members drive their vehicles.

Manifestation of the defect, however, may not be noticeable to Plaintiff and the Class Members

or result in complete failure.

        55 .    The defect in Plaintiffs Delta Stroke Sensor incorporated in the brake booster

assembly has also resulted in the brake warning light being on or staying on, and/or the ABS

warning light being on or staying on, and/or there is or has been a vibration in the brake pedal

while braking. Further, the defect results in a dangerous and unacceptable spectrum ranging

from brake shuddering to complete braking failure.

       56.     The defective Delta Stroke Sensor incorporated in the brake booster assembly

obligated Defendant to provide warranty remedies under the terms of the express warranty from

Defendant that Plaintiff and Class Members acquired upon purchase of their vehicles.

       57.     Defendant has breached the express warranty by not making repairs as it         IS


obligated to do.

       58.     The circumstances - among others, Defendant's intentional delay and withholding

information regarding the brake defect from their dealers and Plaintiff - have caused any




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exclusive or limited remedy in Defendant's warranty document to fail of its essential purpose in

that Plaintiff and Class Members were unable to make warranty claims during the actual

warranty period due to Defendant's fraudulent concealment and denial of the defect and

warranty coverage.

        59.     Defendant's breach of the express warranty caused or proximately caused

damages to Plaintiff and the Class Members as set forth below.

       (C)      Unjust Enrichment.

       60.     The allegations set forth in paragraphs I-59 herein are incorporated into this

section by reference as if set forth verbatim.

       61.     By concealing the defective Delta Stroke Sensor incorporated in the brake booster

assembly and responsibility from vehicle owners, dealers and prospective vehicle purchasers,

Defendant unjustly enriched itself at the expense of Plaintiff and Class Members, all of whom,

under those warranties, were entitled to have the defective Delta Stroke Sensor incorporated in

the brake booster assembly in their Class Vehicles replaced or otherwise remedied.

       62.     Due to the defects and Defendant's knowledge of same, Defendant was unjustly

enriched because of the difference in value between (I) the Class Vehicle sold to Plaintiff and

the Class Members and (2) the Class Vehicle Defendant represented to the Plaintiff and the Class

Members.

       63.     Due to the defects and Defendant's knowledge of same, Defendant was unjustly

enriched because Plaintiff and the Class Members received the Class Vehicle with less value

than what was represented and for which they paid.




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           64.   Due to the defects and Defendant's knowledge of same, Defendant was enriched

because there exists a difference in value between (I) the price paid for the Class Vehicle and (2)

the Class Vehicle's actual value when received by Plaintiff and the Class Members.

           65.   Due to the defects and Defendant's knowledge of same, Defendant was enriched

because Plaintiff and the Class Members received the Class Vehicle with less value than the

price paid.

           66.   Due to the defects and Defendant's knowledge of same, Defendant was enriched

because Defendant wrongfully obtained from Plaintiff and the Class Members a value over the

worth of the Class Vehicle.

           67.   Defendant has received monies from Plaintiff and the Class Members under such

circumstances that, in equity and good conscience, Defendant ought not to retain it.

           68.   Because of this unjust enrichment, Defendant should be disgorged of amounts

wrongfully retained and/or required to make restitution to Plaintiff and Class Members of

benefits received, retained or appropriated.

           69.   Such restitution of benefits received, retained or appropriated       IS   just and

equitable.

           70.   Any express contract upon which a defense could be raised "does not provide an

answer" or remedy for Plaintiff and Class Members.

           71.   Any express contract upon which a defense could be raised "does not fully

address the subject" matter of this suit and equity may impose a remedy to further the ends of

justice.

           72.   The equitable relief asserted is not inconsistent with any express contract upon

which a defense could be raised.




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        73.    Pleading in the alternative, Plaintiff and Class Members have no adequate remedy

at law, thus making his assertion of unjust enrichment all the more appropriate.

        (D)    Violation of the Arkansas Deceptive Trade Practices Act.

       74.     The allegations set forth in paragraphs 1-70 herein are incorporated into this

section by reference as if set forth verbatim.

       75.     The Arkansas Deceptive Trade Practices Act ("ADTPA"), Ark. Code Ann.

Section 4-88-10 I, el seq., is designed to protect consumers from deceptive, unfair, and

unconscionable trade practices.     The ADTPA is a remedial statute, which is to be liberally

construed in favor of consumers.

       76.     The practices employed by Defendant in selling the defective Class Vehicles are

false, deceptive, unfair, unconscionable, and misleading.     Defendant's failure to disclose the

defect to consumers is deceptive, unfair, unconscionable, and misleading

       77.     The defective Class Vehicles are "goods" and the parties are "persons" within the

meaning of the ADTPA .

       78.     Defendant's wrongful actions relating to distribution, marketing, and sale of the

defective Class Vehicles violate Ark. Code Ann. Sections 4-88-107(a)(I), (3), and (10), and 4-

88-108(1) and (2).

       79.      Defendant was in a superior position relative to Plaintiff and Class Members to

know the existence of the defect in the Class Vehicles. Defendants acted with the intent to cause

consumer reliance on its material omissions.

       80.     Defendant's violations of the ADTPA resulted in Plaintiff and the Arkansas-

citizen Class ("consumers") purchasing Defendants' defective products.




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        81.     Plaintiff and Class Members suffered actual damages as a result of Defendant's

deceptive and unfair trade acts and practices, and such harm can be measured by any of the

following damage models: "benefit-of-the bargain," "out-of-pocket," or restitution.

                                                 VIII.

                                CLASS ACTION ALLEGATIONS

        82.    The allegations set forth in paragraphs 1-81 herein are incorporated into this

section by reference as if set forth verbatim.

        83.    The Class as defined herein, involving owners of Class Vehicles described herein,

is so numerous that joinder of all members is impracticable. Ark. R. Civ. P. 23(a)(I).

        84.    There are questions of law or fact common to that class, such as, but without

limitation:

               BREACH OF EXPRESS WARRANTY: Whether, based on the terms of
               Defendant's written limited warranty, the design flaw in the Delta Stroke
               Sensor incorporated in the brake booster assembly in Class Vehicles
               constitutes a "vehicle defect related to materials or workmanship
               occurring during the "Warranty Period."



               UNJUST ENRICHMENT: Whether Defendant, by defectively designing
               the Delta Stroke Sensor incorporated in the brake booster assembly and
               concealing the defect to avoid paying warranty claims, have unjustly
               retained benefits that it should restore to Plaintiff and Class Members.

               FRAUDULENT CONCEALMENT: Whether Defendant, once it acquired
               knowledge of the defect, and based upon all the circumstances, was
               clothed with a duty to speak to then-existing owners of Class Vehicles so
               they could obtain relief. In addition, whether Defendant, once it acquired
               knowledge of the defect, and based upon all the circumstances, owed a
               duty to speak to prospective purchasers of Class Vehicles, alerting them to
               the existence of the defect.

               VIOLATION OF ADTP A: Whether Defendant, by defectively designing
               the Class Vehicle, concealing the defect, and selling the Class Vehicle to




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                 Arkansas consumers has violated certain terms or provisions of the
                 ADTPA.

                 DAMAGES : Whether Plaintiff and Class Members have suffered and are
                 entitled to damages.

                 RESTITUTION: Whether Plaintiff and Class Members are entitled to
                 restitution based on, without limitation, Defendant's unjust-enrichments-
                 related misconduct and/or having previously paid for repairs to the
                 defective Delta Stroke Sensor incorporated in the brake booster assembly.

 Accordingly, the commonality requirements are satisfied. Ark. R. Civ. P. 23(a)(2).

         85.     The claims and defenses of the representative party, Plaintiff Tom West, is typical

 of the claims or defenses of Class Members. Ark. R. Civ. P. 23(a)(3).

         86.     Plaintiff Tom West will fairly and adequately protect the interests of Class

 Members. Ark. R. Civ. P. 23(a)(4). Representative counsel are qualified, experienced and can

. generally conduct this class-action litigation. There is no evidence of collusion or conflicting

 interest between Plaintiff Tom West and the Class Members. Finally, Plaintiff has reviewed the

 pleadings in this matter, and understands the allegations against Defendant. Plaintiff has also

 educated themselves on a general level concerning Defendant's business and engineering

 practices that are the subject of this litigation. Plaintiff is very much interested in obtaining relief

 for himself and Class Members in Arkansas. He has and will stay in touch with representative

counsel during this litigation, understand his duties as a class representative, and is willing to

 comply with them. He is not at all reluctant to assist with discovery requests, participate in oral

discovery, and generally assist representative counsel with the decisions that need to be made

during the course of this litigation.

        87.     Questions of law or fact common to Class Members predominate over any

questions affecting only individual members. Ark. R. Civ. P. 23(b). A common, overarching

factual or legal inquiry, especially one centered on the Defendant's breach of a uniform



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obligation to Class Members or its fraudulent, common failure to disclose and concealment

affecting the Class generally, will satisfy Rule 23(b)'s predominance requirement. Moreover, an

overarching factual or legal inquiry creates predominance, even though individual issues

concerning matters such as Class-member knowledge, detrimental reliance or damages may

exist.

         88.    Defendant's defectively-designed Delta Stroke Sensor incorporated in the brake

booster assembly and Defendant's subsequent cover-up to avoid paying warranty claims, all as

alleged herein, is precisely the type of overarching factual and legal inquiry or matter that

satisfies the Rule 23(b) predominance requirement under Arkansas class action procedure.

         89.    A class action is superior to other available methods for the fair and efficient

adjudication of Defendant's acts or omissions in connection with the defect.

         90.    The Court possesses wide discretion to find superiority.       Moreover, the relief

sought by Plaintiff and Class Members is relatively small if sought on an individual basis.

Accordingly, it is not economically feasible for Class Members to pursue Defendant

individually. Further, the possibility of multiple trials supplying inconsistent results and wasting

judicial resources favors class action superiority, as does the fact that numerous meritorious

claims might go unaddressed absent class certification. Finally, this class action presents no

problems from a manageability standpoint.

                                                 IX.

                         DAMAGESIDISGORGEMENT/RESTITUTION

         91.   The allegations set forth in paragraphs 1-90 herein are incorporated into this

section by reference as if set forth verbatim.




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        92.     Plaintiff and Class Members seek appropriate money damages              In   an amount

necessary to remedy the defective Delta Stroke Sensor incorporated in the brake booster

assembly in Plaintiffs vehicles and in each of the Class Vehicles owned by Class Members,

including loss of transportation during the diagnostic and repair period.          Plaintiff and Class

Members, in terms of obtaining "benefit of the bargain" type relief, "out-of-pocket" type relief,

or restitution allege this amount will restore their vehicles to the "as warranted" or "as

represented" status or values. See e.g. VCC §2-714(b).

        93.    Alternatively, for Class Members who have previously paid out of their own

pocket for repairs of the defect, without reimbursement from Defendant, Plaintiff seeks out-of-

pocket money damages in the amounts each such Class Member has actually paid.

       94.     Alternatively, based on Defendant having been unjustly enriched, Plaintiff and

Class Members seek disgorgement and restitution from Defendant in an amount necessary to

remedy the defect in Plaintiffs vehicles, as well as in each of the Class Vehicles owned by Class

Members.

       95.     Plaintiff and Class Members seek recovery of their reasonable and necessary

attorney fees and costs.

       96.     Plaintiff and Class Members seek recovery of any available pre- and post-

judgment interest.

       97.     Plaintiff and Class Members seek such other and further relief, both at law and in

equity, as the Court determines fair, reasonable, appropriate and/or deems just.




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                                                  x.
                                             PRAYER

        98.     WHEREFORE, PREMISES CONSIDERED, Plaintiff and Class Members

respectfully pray that the Court:

               a.      Certify this action as a class action as permitted by Ark. R. Civ. P. 23,

       appoint Plaintiffs class representative, and Plaintiff's counsel class representative

       counsel;

               b.      Conduct a trial on the merits and, thereafter, enter judgment against

       Defendant in favor of Plaintiff and Class Members consistent with the damages amounts,

       restitution and/or other relief requested herein.

       c.      Grant Plaintiff and Class Members such other and further relief, both at law and

in equity, as the Court determines fair, reasonable, a p opr·         deems just.




                                              J




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                                              ATTORNEYS FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing instrument has
been served by electronic mail on this 14th day of June, 2012 to Defendant's counsel listed
below:

       Damon Young
       Young Pickett
       4122 Texas Boulevard
       Texarkana, Texas 75503

       G. Charles Nierlich
       Timothy W. Loose
       Gibson, Dunn & Crutcher
       555 Mission Street, Suite 3000
       San Francisco, California 94105-2933



                                            JIM




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